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                              EXHIBIT CC


                To Declaration of Micah West in Support of
                    Motion for Preliminary Injunction
                     & Motion for Class Certification
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                                      Supervision Costs Significantly Less              6-33
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   Supervision Costs Significantly Less than Incarceration in Federal System
   Published on July 18, 2013

   In 2012, the annual cost of placing an offender in a Bureau of Prisons institution or
   federal residential reentry center was roughly eight times the cost of placing the
   same offender under post-conviction supervision by a federal probation officer.
   Pretrial detention for a defendant was nearly 10 times more expensive than the cost
   of supervision of a defendant by a pretrial services officer in the federal system.

   The cost of supervision has declined in recent years. That reduction is not due to
   fewer cases, fewer officers needed to supervise them, or cheaper treatment or
   monitoring services options. Instead, it reflects that the Judiciary had less money to
   invest in community supervision. When compared to 2011, the cost of post-
   conviction and pretrial supervision decreased in 2012— nearly 2.5 percent for post-
   conviction supervision and 1.5 percent for pretrial supervision.

   Probation and pretrial services officers focused the cuts on cases presenting the
   lowest relative risk and preserved resources, as much as possible, to mitigate the risk
   of the remaining defendants and offenders. For example, offices established low
   activity supervision caseloads for low risk offenders who had not yet met the criteria
   for early termination. Early termination was recommended as soon as offenders met
   Judicial Conference approved criteria, and officers selected the most cost-effective
   treatment options and location monitoring technologies.

   The cost of supervision is calculated using staffing formulas, salary costs of
   probation and pretrial services officers, obligations for expenditures associated with   Infographic: Supervision vs Incarceration
   providing court-directed services for defendants and offenders, and miscellaneous
   operating expenses. The Federal Bureau of Prisons provided the figures for the cost
   of imprisonment and community corrections center placement. The Office of Federal Detention Trustee (OFDT) has provided the cost of pretrial detention
   in past years. While OFDT was unable to provide those figures for fiscal year 2012, they are computed at the prior year level with the same rate of inflation
   reported by the Bureau of Prison for imprisonment.



   Post-Conviction                                                             Daily                 Monthly                     Annually



   BOP Facility                                                                $ 79.16               $ 2,412.33                  $ 28,948.00



   Residential Reentry Centers                                                 $ 73.78               $ 2,244.17                   $ 26,930.00



   Supervision by Probation Officers                                           $ 9.17                 $ 278.95                    $ 3,347.41




   Pretrial Services                                                                     Daily              Monthly                  Annually



   Pretrial Detention                                                                    $ 73.03               $ 2,221.22             $26,654.69



   Supervision by Pretrial Services Officers                                              $ 7.24                $ 220.29              $ 2,643.50




   For information on the duties and responsibilities of federal probation and pretrial services officers visit uscourts.gov (/services-forms/probation-and-
   pretrial-services/probation-and-pretrial-services-supervision).

   Related Topics: Probation and Pretrial Services (/topics/probation-and-pretrial-services)




http://www.uscourts.gov/news/2013/07/18/supervision­costs­significantly­less­incarceration­federal­system                                                          1/2
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